        Case: 4:22-cr-00650-JAR-PLC Doc. #: 1 Filed: 11/10/22 Page: 1 of 1 PageID #: 1


AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                              EASTERN DISTRICT OF MISSOURJ

                  United States of America                          )
                              V.                                    )
                                                                    )      Case    o. 4:22 MJ 3250 CC
                                                                    )       SIGNED AND SLJBMITTED TO THE COURT FOR
                     BOBBY L. PARKER                                )       FILING BY RELIABLE ELECTRONIC MEA S
                                                                    )
                                                                    )
                           Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s ) of                  November 10. 2022             in the county of           St. Louis City            in the
      Eastern            District of ___M i_ s_ so_ _ur_ i ___ , the defendant(s) violated:

            Code Section                                                      Offense Description

            21:841(a)                                        Possession with intent to distribute a controlled substance
            I 8:924(c)                                     Possession of a firearm in furtherance of a drug trafficking crime




         This criminal complaint is based on these facts:
                                                    SEE ATTACHED AFFIDAVIT




         &, Continued on the attached sheet.



                                                                                       Special Agent Daniel Zwiesler, FBI
                                                                                               Printed name and title

Sworn to, anested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure 4.1 and 41.


                 11/10/2022
Date:
                                                                                                 Judge's signature

                                          St. Louis. Missouri -----         Honorable oelle C. Collins, U.S. Magistrate Judge
City and state:
                                                                                               Printed name and title
